                                                   Clear Form
DOCUMENTS UNDER Case5:15-cr-00226-EJD
                 SEAL                      Document5                 Filed05/18/15   Page1
                                                                         TOTAL TIME (m ins): of03
                                                                                                1 min
M AGISTRATE JUDGE              DEPUTY CLERK                                        REPORTER/FTR
M INUTE ORDER                 Lili M. Harrell                                   FTR: 2:30pm - 2:33pm
MAGISTRATE JUDGE               DATE                                                NEW CASE       CASE NUMBER
Nathanael Cousins                       May 18, 2015                                             15-cr-00226 BLF
                                                    APPEARANCES
DEFENDANT                               AGE       CUST  P/NP   ATTORNEY FOR DEFENDANT                   PD.     RET.
Douglas Stroms York                               Y        P       Graham Archer                        APPT.
U.S. ATTORNEY                           INTERPRETER                            FIN. AFFT             COUNSEL APPT'D
Tim Lucey                                                                      SUBMITTED

PROBATION OFFICER          PRETRIAL SERVICES OFFICER                DEF ELIGIBLE FOR          PARTIAL PAYMENT
                           Kim Do                                   APPT'D COUNSEL            OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                         STATUS
                                                                                                          TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT             BOND HEARING           IA REV PROB. or           OTHER
                                                                                or S/R
       DETENTION HRG             ID / REMOV HRG          CHANGE PLEA            PROB. REVOC.              ATTY APPT
       NH                                                                                                 HEARING
                                                   INITIAL APPEARANCE
        ADVISED               ADVISED                   NAME AS CHARGED             TRUE NAME:
        OF RIGHTS             OF CHARGES                IS TRUE NAME
                                                      ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON              READING W AIVED            W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                SUBSTANCE
                                                       RELEASE
      RELEASED          ISSUED                     AMT OF SECURITY         SPECIAL NOTES             PASSPORT
      ON O/R            APPEARANCE BOND            $                                                 SURRENDERED
                                                                                                     DATE:
PROPERTY TO BE POSTED                        CORPORATE SECURITY                      REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL               DETAINED           RELEASED      DETENTION HEARING            REMANDED
      FOR             SERVICES                                                AND FORMAL FINDINGS          TO CUSTODY
      DETENTION       REPORT                                                  W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                           PLEA
   CONSENT                   NOT GUILTY                   GUILTY                   GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE               CHANGE OF PLEA               PLEA AGREEMENT           OTHER:
   REPORT ORDERED                                         FILED
                                                      CONTINUANCE
TO:                              ATTY APPT               BOND                  STATUS RE:
5/26/2015                        HEARING                 HEARING               CONSENT                  TRIAL SET

AT:                              SUBMIT FINAN.            PRELIMINARY          CHANGE OF                STATUS
                                 AFFIDAVIT                HEARING              PLEA
9:00am                                                    _____________
BEFORE HON.                      DETENTION                ARRAIGNMENT           MOTIONS                 JUDGMENT &
                                 HEARING                                                                SENTENCING
Labson-Freeman
       TIME W AIVED              TIME EXCLUDABLE          IDENTITY /           PRETRIAL                 PROB/SUP REV.
                                 UNDER 18 § USC           REMOVAL              CONFERENCE               HEARING
                                 3161                     HEARING
                                              ADDITIONAL PROCEEDINGS




                                                                                     DOCUMENT NUMBER:
